   UNITED STATES COURT OF APPEALS FOR THE SEVENTH CIRCUIT


        Everett McKinley Dirksen
                                                                                Office of the Clerk
        United States Courthouse
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          Chicago, Illinois 60604




                                                      ORDER
October 10, 2024

                                                       Before

                                          JOSHUA P. KOLAR, Circuit Judge

                                     BENJAMIN SCHOENTHAL, et al.,
                                             Plaintiffs - Appellees

 Nos. 24-2643 & 24-2644              v.

                                     KWAME RAOUL, et al.,
                                            Defendants - Appellants
Originating Case Information:
District Court No: 3:22-cv-50326
Northern District of Illinois, Western Division
District Judge Iain D. Johnston


On consideration of the papers filed in these appeals and review of the short records,

This court concludes that the Rule 58 judgment entered in this case is deficient. A judgment must
provide relief to which the prevailing party is entitled. Hyland v. Liberty Mutual Fire Ins. Co., 885
F.3d 482, 483 (7th Cir. 2018). The judgment entered in this case fails to do so.

For declaratory-judgment actions, district courts must declare specifically and separately the
respective rights of the parties, not simply state in a memorandum opinion, minute order, or a
form prescribed for judgments in a civil case that a motion has been granted or denied. Calumet
River Fleeting Inc. v. Int’l Union Operating Engineers, 824 F.3d 645, 651 (7th Cir. 2016); see Phila.
Indemnity Ins. Co. v. The Chicago Tr. Co., 930 F.3d 910, 912 (7th Cir. 2019) (court remanded case with
instructions “to enter a new judgment that implements the district judge’s opinion, abides by Rule
58, and resolves the whole case”). Rule 58(b)(2) of the Federal Rules of Civil Procedure also requires
that the judge, not a clerk, review and approve the form of a declaratory judgment. Greenhill v.
Vartanian, 917 F.3d 984, 987 (7th Cir. 2019).

In this case, the clerk of court—not the judge—entered and signed the judgment. In the judgment,
the court states that judgment is entered in favor of the plaintiffs except that two defendants are
“terminated per order” but it provides no relief to the plaintiffs. Accordingly,
Nos. 24-2643 & 24-2644                                                                           Page 2


IT IS ORDERED that these appeals are REMANDED to the district court to enter a judgment that
fully and correctly implements its decision granting declaratory relief to the plaintiffs. See Fed. R.
Civ. P. 60(a). This court will retain jurisdiction over these appeals. Once the district court has
corrected its judgment, these appeals will proceed to briefing. An amended notice of appeal is
unnecessary. See Mosley v. Atchison, 689 F.3d 838, 843–44 (7th Cir. 2012).

IT IS FURTHER ORDERED that appellants shall inform the court, on or before October 17, 2024,
whether the district court has entered its amended judgment.
